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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :       Case No. 22-mj-22 (RMM)
                                             :
ILYA LICHTENSTEIN, and                       :
                                             :
HEATHER MORGAN,                              :
                                             :
                Defendants.                  :

                UNOPPOSED MOTION TO CONTINUE STATUS HEARING
                 AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT

        The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves this Court to continue the status hearing currently scheduled for

May 3, 2022 for approximately 30 days until on or about June 3, 2022, and to exclude time under

the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) from May 3, 2022 until the date of the

next status hearing in this case. In support whereof, the government states as follows:

        1.      The defendants were charged by criminal complaint on February 7, 2022, on

charges of Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and Conspiracy

To Defraud the United States, in violation of 18 U.S.C. § 371.

        2.      A status hearing is currently scheduled before this Court on May 3, 2022. A

Preliminary Hearing is also scheduled in the Southern District of New York on May 2, 2022. The

government has begun producing discovery on a rolling basis, and has produced more than

450 MB of material to date, including voluminous financial records.

        3.      The parties respectfully request a continuance of approximately 30 days, until on

or about June 3, 2022, to facilitate the discovery process and discussions regarding possible

resolutions of the case short of trial.
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         4.    The government further moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude

time under the Speedy Trial Act in the interests of justice from May 3, 2022 until the date of the

next status hearing in this case, to be determined by the Court. This additional period is necessary

to allow the parties to engage in discovery and in discussions regarding possible resolutions of the

case short of trial. Therefore, the government respectfully submits that the ends of justice served

by such exclusion would outweigh the best interest of the public and the defendant in a speedy

trial.

         5.    Counsel for the government has conferred with defense counsel for both defendants

regarding this motion. The defendants do not oppose the motion and waive their rights under the

Speedy Trial Act in connection with the proposed exclusion of time of approximately 30 days.

         WHEREFORE, the government respectfully moves that the status hearing in this case

currently scheduled for May 3, 2022 be continued for approximately 30 days until on or about

June 3, 2022, and that the time from May 3, 2022 until the date of the next status hearing in this

case be excluded from computation under the Speedy Trial Act.




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                           Respectfully submitted,

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